           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 1 of 23




                        UNITED STATES DISTRICT COURT
                        DISTRICT COURT OF MINNESOTA

IN RE PORK ANTITRUST LITIGATION               Case No. 18-cv-01776 (JRT-HB)

                                              MEMORANDUM OF POINTS
This Document Relates To:                     AND AUTHORITIES IN
                                              SUPPORT OF MOTION FOR
THE DIRECT PURCHASER PLAINTIFF                FINAL APPROVAL OF THE
ACTION                                        CLASS ACTION SETTLEMENT
                                              BETWEEN DIRECT
                                              PURCHASER PLAINTIFFS AND
                                              SMITHFIELD FOODS, INC.




565162.1
967357.5
            CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 2 of 23




                                             TABLE OF CONTENTS
                                                                                                                       Page

I.         INTRODUCTION .................................................................................................... 1
II.        LITIGATION BACKGROUND .............................................................................. 2
III.       SUMMARY OF THE SETTLEMENT AND NOTICE .......................................... 4
           A.       Settlement Negotiations and the Settlement Terms ...................................... 4
           B.       The Court-Approved Notice Plan Has Been Implemented and No
                    Class Member Has Objected to the Settlement ............................................. 7
IV.        LEGAL ARGUMENT ............................................................................................. 8
           A.       The Court-Approved Notice Program Satisfies Due Process and Has
                    Been Fully Implemented ............................................................................... 8
           B.       The Settlement Satisfies the Standard for Final Approval .......................... 10
V.         CONCLUSION ...................................................................................................... 18




565162.1                                                       ii
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 3 of 23




                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)

Cases

In re “Agent Orange” Prod. Liab. Litig.,
    818 F.2d 145 (2d Cir. 1987).......................................................................................................8

Amchem Prods., Inc. v. Windsor,
  521 U.S. 591 (1997) ...................................................................................................................8

Christina A. v. Bloomberg,
   No. Civ. 00-4036, 2000 WL 33980011 (D.S.D. Dec. 13, 2000) .............................................13

Cohn v. Nelson,
   375 F. Supp. 2d 844 (E.D. Mo. 2005)......................................................................................12

In re Corrugated Container Antitrust Litig.,
    643 F.2d 195 (5th Cir. 1981) ...................................................................................................16

DeBoer v. Mellon Mortg. Co.,
   64 F.3d 1171 (8th Cir. 1995) .............................................................................................11, 14

E.E.O.C. v. Faribault Foods, Inc.,
   Civ. Nos. 07-3976, 07-3986, 07-3977, 07-3985, 2008 WL 879999
   (D. Minn. Mar. 28, 2008) .........................................................................................................14

In re Employee Benefit Plans Sec. Litig.,
    No. 3-92-708, 1993 WL 330595 (D. Minn. June 2, 1993) ................................................12, 13

Ficalora v. Lockheed Cal. Co.,
   751 F.2d 995 (9th Cir. 1985) ...................................................................................................12

In re Gen. Motors Corp. Pick-Up Truck Fuel Tank Prod. Liab. Litig.,
    55 F.3d 768 (3d Cir. 1995).......................................................................................................10

Grunin v. Int’l House of Pancakes,
   513 F.2d 114 (8th Cir. 1975) ...................................................................................................11

In re Lorazepam & Clorazepate Antitrust Litig.,
    205 F.R.D. 369 (D.D.C. 2002).................................................................................................18

Martin v. Cargill, Inc.,
  295 F.R.D. 380 (D. Minn. 2013)..............................................................................................12

MSK Eyes, Ltd. v. Wells Fargo Bank, N.A.,
  546 F.3d 533 (8th Cir. 2008) ...................................................................................................10



565162.1                                                           iii
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 4 of 23




Paper Sys. Inc. v. Nippon Paper Indus. Co.,
   281 F.3d 629 (7th Cir. 2002) ...................................................................................................15

Petrovic v. Amoco Oil Co.,
   200 F.3d 1140 (8th Cir. 1999) .......................................................................................8, 10, 14

In re Rambus Inc. Derivative Litig.,
    No. C 06-3513, 2009 WL 166689 (N.D. Cal. Jan. 20, 2009) ..................................................18

In re Shopping Carts Antitrust Litig.,
    MDL No. 451, 1983 WL 1950 (S.D.N.Y. Nov. 18, 1983) ......................................................16

Texas Indus., Inc. v. Radcliff Materials, Inc.,
   451 U.S. 630 (1981) .................................................................................................................15

In re UnitedHealth Grp. Inc. Shareholder Derivative Litig.,
    631 F. Supp. 2d 1151 (D. Minn. 2009) ........................................................................11, 12, 14

Van Horn v. Trickey,
   840 F.2d 604 (8th Cir. 1988) ...................................................................................................11

Varacallo v. Mass. Mut. Life Ins. Co.,
   226 F.R.D. 207 (D.N.J. 2005) ..................................................................................................14

Wal-Mart Stores, Inc. v. Visa U.S.A., Inc.,
   396 F.3d 96 (2d Cir. 2005).................................................................................................16, 17

Welsch v. Gardebring,
   667 F. Supp. 1284 (D. Minn. 1987) .........................................................................................13

In re Zurn Pex Plumbing Prods. Liab. Litig.,
    No. 08-MDL-1958, 2013 WL 716088 (D. Minn. Feb. 27, 2013) ............................................13

Other Authorities

4 Alba Conte & Herbert Newberg, Newberg on Class Actions, § 11.22 (4th ed. 2002) ...............11

Fed. R. Civ. P. 23(c)(2)(B) ..............................................................................................................8

Fed. R. Civ. P. 23(e)(1)(A) ............................................................................................................11

Manual for Complex Litigation, § 21.632 (4th ed. 2004) ..............................................................11




565162.1                                                            iv
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 5 of 23




I.         INTRODUCTION

           The Direct Purchaser Plaintiffs (“DPPs”) hereby seek final approval of the

Settlement1 with Defendant Smithfield Foods, Inc. (“Smithfield” or “Settling Defendant”).

This is the second major settlement in this litigation, and it provides the Settlement Class

with significant and substantial relief. Pursuant to the Settlement Agreement, Smithfield

will pay $77,364,300 in monetary relief and will provide cooperation to DPPs, as defined

in the Agreement. Combined with DPPs’ earlier settlement with the JBS Defendants, this

brings the total settlements to date to $101,864,300 from just two of the Defendants in the

case.2 (See Declaration of W. Joseph Bruckner in Support of Motion (“Bruckner Decl.”) at

¶ 9.)

           In granting preliminary approval of this Settlement, the Court found it fell within

the range of reasonableness and ordered notice to be provided to the Class members. (See

Preliminary Approval Order, Aug. 5, 2021, ECF No. 870 (hereinafter referred to as




     1
     Unless otherwise noted, all capitalized terms shall have the same meaning as in the
Settlement Agreement (ECF No. 831-2, also referred to herein as “Settlement”).
     2
      The term “Class” or “Settlement Class” is consistent with the definition of the term in
the Court’s Preliminary Approval Order: “DPPs and all other persons who purchased Pork
directly from any of the Defendants or any co-conspirator, or their respective subsidiaries
or affiliates for use or delivery in the United States from January 1, 2009 through January
12, 2021. Specifically excluded from the Settlement Class are the Defendants; the officers,
directors or employees of any Defendant; any entity in which any Defendant has a
controlling interest; and any affiliate, legal representative, heir or assign of any Defendant.
Also excluded from this Settlement Class are any federal, state, or local governmental
entities, any judicial officer presiding over this action and the members of his/her
immediate family and judicial staff, and any juror assigned to this action.” (See Preliminary
Approval Order at 2-3.)


565162.1                                        1
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 6 of 23




“Preliminary Approval Order”) at 2.) Interim Co-Lead Counsel3 and A.B. Data Ltd., the

Court-appointed claims administrator (see id. at 3-4), have executed the Notice Plan in

accordance with the Court’s Preliminary Approval Order. (Id.) This process has confirmed

that the Settlement with Smithfield is fair, reasonable, and adequate, and should be granted

final approval by the Court. The reaction of the Class members has been uniformly

positive, with no member of the Settlement Class objecting to the Settlement. (See Sections

IV.A and IV.B.4 infra.)

           This Settlement provides substantial relief to the Class members while eliminating

the risk, uncertainty, and expense of continuing litigation, and preserving DPPs’ right to

obtain additional settlements or judgments against the numerous remaining Defendants.

DPPs therefore respectfully request that the Court grant final approval to the Settlement

and enter final judgment.

II.        LITIGATION BACKGROUND

           This is an antitrust class action against certain producers of Pork.4 DPPs allege that

Defendants combined and conspired to fix, raise, maintain, or stabilize prices of Pork sold


      3
    Interim Co-Lead Counsel are Lockridge Grindal Nauen P.L.L.P. and Pearson, Simon
& Warshaw, LLP. (See Order of Oct. 15, 2018 (ECF No. 149).) Interim Co-Lead Counsel
was appointed Class Counsel of the Smithfield Settlement Class. (See Preliminary
Approval Order at 2-3.)
      4
     As used in connection with the Settlement, “Pork” means porcine or swine products
processed, produced or sold by JBS, or by any of the Defendants or their co-conspirators,
including but not limited to: primals (including but not limited to loins, shoulders, picnics,
butts, ribs, bellies, hams, or legs), trim or sub-primal products (including but not limited to
backloins, tenderloins, backribs, boneless loins, boneless sirloins, riblets, chefs prime,
prime ribs, brisket, skirt, cushion, ground meats, sirloin tip roast, or hocks), further
processed and value added porcine products (including, but not limited to bacon, sausage,
lunch meats, further processed ham, or jerky products), offal or variety products (including,

565162.1                                         2
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 7 of 23




in the United States in violation of the Sherman Act, 15 U.S.C. § 1. (See generally DPP

Third Consolidated and Amended Complaint ECF No. 431 (“TCAC” or “Complaint”).)

DPPs allege that Defendants implemented their conspiracy in various ways, including via

coordinated supply restrictions, sharing competitively sensitive price and production

information, and otherwise manipulating Pork prices. (Id.) Smithfield denies all allegations

of wrongdoing in the Action and would allege numerous defenses to DPPs’ claims, but

desires to settle the Action to avoid, among other things, the further expense,

inconvenience, disruption, and burden of this litigation.

           The DPP class action lawsuit was filed on June 29, 2018, and consolidated before

Chief Judge John R. Tunheim in this Court. Unlike many other civil antitrust actions, this

case was developed and brought without the benefit of a formal antitrust investigation by

the U.S. Department of Justice or the assistance of a leniency applicant under the

Department of Justice’s Corporate Leniency Program. (See Corporate Leniency Policy,

U.S. Dep’t of Justice, https://www.justice.gov/atr/corporate-leniency-policy.) Thereafter,

the Court appointed the undersigned as Interim Co-Lead Class Counsel for the DPPs. (ECF

No. 149.) Defendants moved to dismiss all Plaintiffs’ complaints. In August 2019, the

Court granted their motions and granted Plaintiffs leave to amend. (ECF No. 360.) DPPs



but not limited to hearts, tongues, livers, head products, spleens, kidneys, feet, stomach,
bladder, uterus, snoot, ears, tail, brisket bone, intestines, jowls, neck bones or other bones,
skin, lungs, glands, hair, or pet food ingredients), rendered product and byproducts
(including, but not limited to, lard, grease, meat meal, bone meal, blood meal , or blood
plasma), casings (including, but not limited to, mucosa), and carcasses. (See Settlement
Agreement ¶ 1.l.) Smithfield agrees to this definition only for purposes of the Settlement
Class. (Id.)


565162.1                                       3
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 8 of 23




amended their complaint, and after extensive briefing by the parties, on October 16, 2020,

the Court largely denied Defendants’ motions to dismiss. (ECF No. 519, amended Oct. 20,

2020, ECF No. 520.)

           DPPs performed a thorough investigation prior to reaching the Settlement and were

well informed by the time the parties agreed to settle. These efforts commenced prior to

the filing of DPPs’ initial complaint and included pre-litigation investigation into

Defendants’ conduct that formed the basis of the DPPs’ complaints. (See Bruckner Decl. ¶

4.)

           Since the initial complaint was filed, DPPs have continued their factual

investigation into the conspiracy alleged in their complaint, and since the Court has largely

denied Defendants’ motions to dismiss Plaintiffs’ complaints, DPPs have commenced

discovery, including depositions. (Id. ¶ 5.)

III.       SUMMARY OF THE SETTLEMENT AND NOTICE

           A.    Settlement Negotiations and the Settlement Terms

           The parties have had ample opportunity to assess the merits of DPPs’ claims and

Smithfield’s defenses, through investigation, research, settlement discussions and

contested motion practice; and to balance the value of Settlement Class members’ claims

against the substantial risks and expense of continuing litigation. The Settlement comes

after extensive arm’s-length negotiations that took place over eight months between the

parties. (See Id. ¶¶ 6-9.) These discussions commenced after the Court mostly denied all

Defendants’ second motions to dismiss in October 2020. (ECF No. 520; Bruckner Decl. ¶

6.) During the subsequent eight months, the parties engaged in extensive arm’s-length


565162.1                                       4
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 9 of 23




negotiations, which ultimately resulted in the Settlement. (Id.) The hard-fought

negotiations were kept confidential over eight months, and often broke down as the parties

vigorously litigated the case. (Id.) The negotiations included numerous conferences as well

as written exchanges between counsel during which they negotiated the material terms of

the settlement, as well as the final Settlement Agreement. (Id.) In engaging in these

settlement discussions, counsel for DPPs were focused on obtaining the best possible result

for the DPP Class. (Id.) The parties ultimately executed the Settlement Agreement on June

29, 2021. (See id.; see also Settlement Agreement.)

           The Settlement Agreement contains a reduction mechanism keyed to the amount of

affected commerce represented by Class members who elected to opt out of the Settlement

Class and the Smithfield Settlement. Those opt-outs resulted in a reduction of the

Settlement amount. (See Settlement Agreement ¶ 20.)5 After completion of the settlement

administration process, the parties and the Claims Administrator calculated the amount of

affected commerce represented by those opt-outs, including opt-outs based on partial

assignments. (See Bruckner Decl. ¶ 9; Declaration of Eric Schachter (“Schachter Decl.”)

¶¶ 11, 12.) The Settlement is subject to a $5,635,700 reduction based on the opt-outs

received during the settlement administration process. (See Bruckner Decl. ¶ 9.) Thus, the

total net amount paid by Smithfield now equals $77,364,300. (Id.)




    5
      The agreed-upon opt-out threshold is contained in a confidential side letter agreement
between DPPs and Smithfield as referenced in the Settlement Agreement (¶ 20). DPPs will
provide the side letter to the Court for in camera review upon request. (See Bruckner Decl.
¶ 9.)


565162.1                                      5
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 10 of 23




           In addition to paying over $77 million in monetary relief, Smithfield also agreed to

provide meaningful cooperation that will assist the DPPs in the ongoing prosecution of this

Action. (See Settlement Agreement ¶ 11.) In exchange, the DPPs and the proposed

Settlement Class will release certain Released Claims (as defined in the Settlement

Agreement) against the Released Parties (as defined in the Settlement Agreement). (See

Settlement Agreement §§ 14, 15.) The releases do not extend to other Defendants or to

unrelated claims for breach of contract, negligence, personal injury, bailment, failure to

deliver lost goods, damaged or delayed goods, product defect, or securities claims. (Id.)

           The Settlement (with accrued interest) will be used to: (1) pay for notice costs and

costs incurred in the administration of the Settlement and distribution of Settlement; (2)

pay taxes and tax-related costs associated with the escrow account for proceeds from the

Settlement; (3) make a distribution to Settlement Class members in accordance with a

proposed plan of distribution to be filed in the future and approved by the Court; (4) pay

any Court-awarded attorneys’ fees and expenses to Counsel for the Settlement Class; and

(5) pay any Court-awarded service awards to the named Plaintiffs. In this motion, DPPs do

not intend to distribute settlement proceeds to qualified Settlement Class members or to

seek attorneys’ fees or costs (other than the costs of notice) from the Settlement. In separate

motions at appropriate dates in the future, DPPs will move the Court to approve a plan to

distribute net settlement proceeds, and will move the Court for an award of attorneys’ fees,

costs, and service awards to the named Plaintiffs.

           In sum, the Settlement Agreement: (1) is the result of extensive good faith

negotiations between knowledgeable and skilled counsel; (2) was entered into after


565162.1                                        6
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 11 of 23




extensive factual investigation and legal analysis; and (3) in the opinion of experienced

class counsel, is fair, reasonable, and adequate. Based on both the monetary and

cooperation elements of the Settlement Agreement, Interim Co-Lead Counsel believes the

Settlement Agreement is in the best interests of the Settlement Class members and warrants

the Court’s approval. (Bruckner Decl. ¶ 13.)

           B.    The Court-Approved Notice Plan Has Been Implemented and No Class
                 Member Has Objected to the Settlement

           The Court entered the Preliminary Approval Order on August 5, 2021, and approved

sending notice of the proposed Settlement to the Class. (ECF No. 870.) Pursuant to the

Preliminary Approval Order, DPPs sent notice to all known Class members of the proposed

Settlement and the fairness hearing to be held on January 27, 2022. The Claims

Administrator, A.B. Data Ltd., mailed a long-form notice by first class mail to Class

members identified through reasonable effort. (Schachter Decl ¶ 3.) On a public website

dedicated to this litigation, www.porkantitrustlitigation.com, the Claims Administrator

also posted notice of the objection deadline (November 2, 2021) and many other case-

related documents, including the full text of the Settlement Agreement, instructions on how

to attend the Court’s fairness hearing, instructions on how to object to the Settlement, and

other details regarding the Settlement and the approval process. (Id. ¶ 9.) The Claims

Administrator has also operated a toll-free telephone number to field Class member

questions. (Id. ¶ 10.)

           On July 23, 2021, Smithfield notified the appropriate federal and state officials

pursuant to the Class Action Fairness Act, 28 U.S.C. § 1715(b), which requires that



565162.1                                       7
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 12 of 23




appropriate federal and state officials (in this case, the U.S. and state attorneys general) be

notified of any proposed class action settlement. The statute provides that a court may not

grant final approval to a proposed settlement sooner than 90 days after such notice is

served. The 90-day waiting period has long passed, and none of the notified federal or state

officials have objected to or otherwise commented on the proposed settlement.

IV.        LEGAL ARGUMENT

           A.    The Court-Approved Notice Program Satisfies Due Process and Has
                 Been Fully Implemented

           When a proposed class action settlement is presented for court approval, the Federal

Rules require “the best notice that is practicable under the circumstances,” and that certain

specifically identified items in the notice be “clearly and concisely state in plain, easily

understood language.” Fed. R. Civ. P. 23(c)(2)(B). A settlement notice is a summary, not

a complete source, of information. See, e.g., Petrovic v. Amoco Oil Co., 200 F.3d 1140,

1153 (8th Cir. 1999); In re “Agent Orange” Prod. Liab. Litig., 818 F.2d 145, 170 (2d Cir.

1987), cert. denied, 484 U.S. 1004 (1988).

           The Notice Plan approved by this Court (see Preliminary Approval Order at 4-5)—

which relies primarily on direct notice to Class members supplemented by publication

notice—is commonly used in class actions like this one. Amchem Prods., Inc. v. Windsor,

521 U.S. 591, 617 (1997) (quoting Fed. R. Civ. P. 23(c)(2)); Fed. R. Civ. P. 23(c)(2)(B). It

constitutes valid, due, and sufficient notice to class members, and is the best notice

practicable under the circumstances. The content of the Court-approved notice complies

with the requirements of Rule 23(c)(2)(b). Both the summary and long-form notice clearly



565162.1                                        8
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 13 of 23




and concisely explained in plain English the nature of the action and the terms of the

Settlements. (See Schachter Decl. ¶8.) The notices provided a clear description of who is a

member of the Settlement Class and the binding effects of Class membership. Id. They also

explained how to exclude oneself from the Settlement Class, how to object to the

Settlement, and how to contact Interim Co-Lead Counsel for the Settlement Class. Id. The

notices also explained that they provided only a summary of the Settlement, and that the

Settlement Agreement, as well as other important documents related to the litigation, are

available online at www.porkantitrustlitigation.com. (See id.) In addition, the information

from that website, as well as the toll-free call-in number for the Settlements, were available

in both English and Spanish. (See id. ¶¶ 9, 10.) Consequently, every provision of the

Settlement was available to each Class member.

           The Notice Plan was implemented by the Court-appointed settlement administrator,

A.B. Data Ltd. (See Preliminary Approval Order at 4.) Specifically, using customer

information obtained from Defendants, A.B. Data Ltd. mailed 68,160 print notices and

emailed 1,728 electronic notices to potential class members. (See Schachter Decl. ¶¶ 3, 6.)

A.B. Data Ltd. also published notice in the October 2021 editions of Nation’s Restaurant

News and Supermarket News, and also effectuated a 30-day digital media banner ad

campaign on www.nrn.com and www.supermarketnews.com. (See id. ¶ 7.) In addition,

A.B. Data Ltd. continues to maintain the case website, where Class members can view and

print important documents and obtain other information related to the litigation. (See id. ¶

9.) A.B. Data Ltd. also continues to maintain a toll-free call-in number to answer Class

members’ questions. (See id. ¶ 10.)


565162.1                                       9
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 14 of 23




           The Settlement Administrator reviewed and processed all requests for exclusion.

(See id. ¶¶ 11-12.) This process included determining the timeliness and validity of any

requests for exclusion, identifying the entities that fell within the scope of valid requests

for exclusion, conducting appropriate follow-ups with requested opt-outs to determine the

scope and value of any assignments or partial assignments, and assisting the parties in

determining the opt-out calculations. (See id.) As a result of this process, the Administrator

has come up with a recommended list of valid opt-outs, which is set forth at Exhibit A of

the Schachter Declaration. This recommended list of opt-outs includes certain partial

assignments which are set forth at Exhibit B to the Schachter Declaration.

           The Court set November 2, 2021, as the deadline for Class members to object to the

Settlement. (Preliminary Approval Order at 7). No Class member has objected to the

proposed Settlement or to any other aspect of the litigation. (Bruckner Decl. ¶ 12; Schachter

Decl. ¶ 12.)

           B.    The Settlement Satisfies the Standard for Final Approval

           Whether a proposed settlement should be approved is within the sound discretion of

the district court, which should be exercised in the context of public policy strongly

favoring the pretrial settlement of controversies, particularly in the context of class action

lawsuits. See MSK Eyes, Ltd. v. Wells Fargo Bank, N.A., 546 F.3d 533, 541 (8th Cir. 2008)

(noting “strong public policy of encouraging settlement”); Petrovic, 200 F.3d at 1148

(“[S]trong public policy favors agreements, and courts should approach them with a

presumption in their favor.”) (internal citation omitted); In re Gen. Motors Corp. Pick-Up

Truck Fuel Tank Prod. Liab. Litig., 55 F.3d 768, 784 (3d Cir. 1995) (“The law favors


565162.1                                       10
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 15 of 23




settlement, particularly in class actions and other complex cases where substantial judicial

resources can be conserved by avoiding formal litigation[.]”); Grunin v. Int’l House of

Pancakes, 513 F.2d 114, 123 (8th Cir. 1975) (approval of a settlement “is committed to the

sound discretion of the trial judge”).

           Review of a proposed settlement generally proceeds in two stages: first, preliminary

approval, followed by a fairness hearing on final approval. See Manual for Complex

Litigation, § 21.632 (4th ed. 2004). Between preliminary and final approval, the class is

notified of the proposed settlement and given an opportunity to object to the settlement,

opt out of the settlement class, or otherwise be heard. This procedure safeguards class

members’ procedural due process rights and enables courts to fulfill their roles as guardians

of class interests. See 4 Alba Conte & Herbert Newberg, Newberg on Class Actions, §

11.22, et seq. (4th ed. 2002).

           Pursuant to Rule 23(e) of the Federal Rules of Civil Procedure, before a class action

may be settled, voluntarily dismissed or compromised, the court must determine whether

the settlement is “fair, reasonable, and adequate.” Fed. R. Civ. P. 23(e)(1)(A); Van Horn v.

Trickey, 840 F.2d 604, 606 (8th Cir. 1988) (quoting Grunin, 513 F.2d at 123); see also

DeBoer v. Mellon Mortg. Co., 64 F.3d 1171, 1176 (8th Cir. 1995). In determining whether

a settlement is fair, reasonable, and adequate, courts in the Eighth Circuit examine a range

of factors, which typically include: “(1) the merits of the plaintiff’s case, weighed against

the terms of the settlement; (2) the defendant’s financial condition; (3) the complexity and

expense of further litigation; and (4) the amount of opposition to the settlement.” In re

UnitedHealth Grp. Inc. Shareholder Derivative Litig., 631 F. Supp. 2d 1151, 1156 (D.


565162.1                                        11
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 16 of 23




Minn. 2009). The court must also assess whether a proposed settlement is “within the range

of possible approval due to an absence of any glaring substantive or procedural

deficiencies.” Martin v. Cargill, Inc., 295 F.R.D. 380, 383 (D. Minn. 2013).

           This Court preliminarily approved the Settlement and now, DPPs respectfully

submit, it should grant final approval.

                  1.     The Settlement was Negotiated at Arm’s-Length and has the
                         Support of Experienced Class Counsel

           “Before approving a class action settlement, the district court must reach a reasoned

judgment that the proposed agreement is not the product of fraud or overreaching by, or

collusion among, the negotiating parties[.]” Ficalora v. Lockheed Cal. Co., 751 F.2d 995,

997 (9th Cir. 1985); Cohn v. Nelson, 375 F. Supp. 2d 844, 852 (E.D. Mo. 2005) (“[P]rior

to approving settlement . . . the court must determine there has been no fraud or collusion

in arriving at the settlement agreement[.]”).

           If a settlement is negotiated at arm’s length, there is a presumption that the

settlement is procedurally sound. See, e.g., In re UnitedHealth Grp. Inc. Shareholder

Derivative Litig., 631 F. Supp. 2d at 1158 (“Where sufficient discovery has been provided

and the parties have bargained at arms-length, there is a presumption in favor of the

settlement.”) (quoting City P’ship Co. v. Atlantic Acquisition Ltd. P’ship, 100 F.3d 1041,

1043 (1st Cir. 1996)). Indeed, courts consistently find that the terms of a settlement are

appropriate where the parties, represented by experienced counsel, have engaged in

extensive negotiation at an appropriate stage in the litigation and can properly evaluate the

strengths and weaknesses of the case and the propriety of the settlement. See, e.g., In re



565162.1                                        12
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 17 of 23




Employee Benefit Plans Sec. Litig., No. 3-92-708, 1993 WL 330595, *5 (D. Minn. June 2,

1993) (noting that “intensive and contentious negotiations likely result in meritorious

settlements . . . .”); In re Zurn Pex Plumbing Prods. Liab. Litig., No. 08-MDL-1958, 2013

WL 716088, at *6 (D. Minn. Feb. 27, 2013) (observing that “[s]ettlement agreements are

presumptively valid, particularly where a ‘settlement has been negotiated at arm’s-length,

discovery is sufficient, [and] the settlement proponents are experienced in similar matters

. . . .’”) (citation omitted).

           Here, there is no dispute that the proposed Settlement is the product of extensive,

arm’s length negotiations. (See Section III.A supra.) The parties have had ample

opportunity to assess the merits of DPPs’ claims and Smithfield’s defenses through

investigation, research, settlement discussions and contested motion practice, and to

balance the value of Settlement Class members’ claims against the substantial risks and

expense of continuing litigation. (See Bruckner Decl. ¶¶ 4-9.)

           Further, “[t]he court is entitled to rely on the judgment of experienced counsel in its

evaluation of the merits of a class action settlement.” In re Employee Benefit Plans Sec.

Litig., 1993 WL 330595, *5 (citation omitted); see also Welsch v. Gardebring, 667 F. Supp.

1284, 1295 (D. Minn. 1987) (affording “great weight” to opinions of experienced counsel).

Indeed, courts give substantial weight to the experience of the attorneys who prosecuted

the case and negotiated the settlement. Christina A. v. Bloomberg, No. Civ. 00-4036, 2000

WL 33980011, *4 (D.S.D. Dec. 13, 2000) (“The Court attributes significant weight to

Plaintiffs’ attorney’s assertion that the Settlement Agreement is fair, reasonable and

provides significant benefits to the Plaintiff class. Indeed, Plaintiffs’ lead attorney . . . based


565162.1                                         13
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 18 of 23




this assertion on his 22 years of experience in this field and his participation in similar

cases in 15 other states.”). Co-Lead Counsel’s approval of a settlement weighs in favor of

the settlement’s fairness. E.E.O.C. v. Faribault Foods, Inc., Civ. Nos. 07-3976, 07-3986,

07-3977, 07-3985 (RHK/AJB), 2008 WL 879999, *4 (D. Minn. Mar. 28, 2008); Varacallo

v. Mass. Mut. Life Ins. Co., 226 F.R.D. 207, 240 (D.N.J. 2005).

           When, as here, experienced counsel represent the parties, and rigorous negotiations

were conducted at arms’ length (in this instance with the assistance of a nationally

recognized mediator), the judgment of the litigants and their counsel concerning the

adequacy of the Settlement should be considered. See Petrovic, 200 F.3d at 1149; DeBoer,

64 F.3d at 1178. Interim Co-Lead Class Counsel unequivocally believes the Settlement is

in the best interests of the Settlement Class members and should be approved by the Court.

(See Bruckner Decl. ¶¶ 13.)

                 2.     The Settlement Provides Significant Relief to the Settlement
                        Class

           The Settlement Agreement with Smithfield provides substantial relief to the

Settlement Class in terms of monetary relief and cooperation. Smithfield has paid $83

million into the Settlement Fund, but as a result of the opt-out process and pursuant to the

Settlement Agreement is entitled to a reduction of $5,635,700, resulting in a net settlement

amount of $77,364,300. (See Bruckner Decl. ¶ 9.) This payment removes any concerns

about the ability to pay the settlement amount. See In re UnitedHealth Grp. Inc.

Shareholder Derivative Litig., 631 F. Supp. 2d at 1156. In addition to the payment of

money, the Settlement requires Smithfield to provide specified cooperation in the DPPs’



565162.1                                       14
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 19 of 23




continued prosecution of the action against the remaining Defendants. This cooperation

includes providing DPPs with discovery responses, documents, or other information

provided to any other plaintiff in the In re Pork Antitrust Litigation or any government

entity making substantially similar allegations regarding competition in the Pork industry;

allowing the DPPs to participate in up to five depositions of Smithfield witnesses;

producing structured data as agreed and assisting as necessary in understanding the data;

authenticating Defendant’s documents for summary judgment and trial; providing a live

witness for testimony at trial on certain topics listed in the Settlement Agreement; and

allowing DPPs to seek phone records of Smithfield’s current and former employees. (See

Settlement Agreement ¶ 11.) The cooperation aspect of the settlement is significant,

because pursuant to the Sherman Act, the remaining Defendants are jointly and severally

liable for any damages resulting from Smithfield’s Pork sales to DPPs during the Class

Period. See Texas Indus., Inc. v. Radcliff Materials, Inc., 451 U.S. 630, 646 (1981); Paper

Sys. Inc. v. Nippon Paper Indus. Co., 281 F.3d 629, 633 (7th Cir. 2002). Thus, this

cooperation will assist Plaintiffs in recovering the maximum amount of their damages

against the remaining Defendants.

           In consideration for these settlement benefits, DPPs and the proposed Settlement

Class agree to release certain Released Claims (as defined in the Settlement Agreement)

against the Smithfield Released Parties (as defined in the Settlement Agreement). (See

Settlement Agreement ¶¶ 10, 15, 16.) The release does not extend to any other Defendants

or co-conspirators, or to unrelated claims for breach of contract, any negligence, personal




565162.1                                      15
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 20 of 23




injury, bailment, failure to deliver lost goods, damaged or delayed goods, product defect,

or securities claims. (Id. ¶ 15.)

           In sum, this Settlement with Smithfield provides substantial monetary and non-

monetary relief to the Settlement Class and falls well within the range of possible approval.

                  3.     The Settlement Eliminates Significant Risk to a Class Facing
                         Complex, Lengthy and Expensive Litigation

           Courts consistently hold that the complexity, expense and likely duration of

litigation are all factors supporting approval of a settlement. See, e.g., In re Corrugated

Container Antitrust Litig., 643 F.2d 195, 217 (5th Cir. 1981). In particular, “antitrust cases,

by their nature, are highly complex.” Wal-Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d

96, 122 (2d Cir. 2005), cert. denied, 544 U.S. 1044 (2005); In re Shopping Carts Antitrust

Litig., MDL No. 451, 1983 WL 1950, *6 (S.D.N.Y. Nov. 18, 1983) (“[A]ntitrust price

fixing actions are generally complex, expensive and lengthy.”).

           This case is no different. While the DPPs believe their case is strong, the Settlement

eliminates significant risks they would face if the action were to proceed against

Smithfield, including the complexity, length and expense of these types of litigations.

Indeed, as reflected in the extensive docket, this case is more than three years old, and the

DPPs have expended significant effort to defeat motions to dismiss, begin conducting

extensive discovery, prepare to brief class certification, and plan and prepare for trial. The

Settlement allows Class members to recover a significant sum from one of the Defendants

that will undoubtedly put pressure on, and allow the DPPs to maximize future recoveries

from, the remaining Defendants. Absent settlement, the DPPs would need to successfully



565162.1                                         16
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 21 of 23




obtain class certification, go to trial, and bear the burden of establishing liability, impact

and damages before obtaining any recovery from Smithfield. See, e.g., Wal-Mart Stores,

396 F.3d at 118 (“‘Indeed, the history of antitrust litigation is replete with cases in which

antitrust plaintiffs succeeded at trial on liability, but recovered no damages, or only

negligible damages, at trial, or on appeal.’”) (quoting In re NASDAQ Market-Makers

Antitrust Litig., 187 F.R.D. 465, 475 (S.D.N.Y. 1998)). Continued litigation against the

remaining Defendants, absent future settlements, will involve significant additional

expenses and protracted legal battles.

           Therefore, the complexity, length and expense of further litigation, which the

Settlement mitigates at least as to the Settling Defendant, also favor final approval.

                 4.     Class Members Support the Settlement

           As discussed in Section IV.A, A.B. Data Ltd. implemented the Notice program as

Ordered by this Court. (See Preliminary Approval Order at 4-5.) Both the mailed notice

and the case website informed Class members of the terms of the Settlement and the

November 2, 2021 deadline for objections. (Preliminary Approval Order at 7.) No Class

member has objected. (See Schachter Decl. ¶ 12.)

           That no Class member has objected is an impressive result for a settlement of this

prominence and for such a class of sophisticated businesses and individuals. Moreover,

only a handful of the thousands of the eligible Class members have opted out of the

Settlement. The Class’s overwhelming affirmation strongly supports the fairness and

reasonableness of the Settlement. See, e.g., Wal-Mart Stores, 396 F.3d at 118 (“If only a

small number of objections are received, that fact can be viewed as indicative of the


565162.1                                       17
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 22 of 23




adequacy of the settlement.”); In re Lorazepam & Clorazepate Antitrust Litig., 205 F.R.D.

369, 378 (D.D.C. 2002) (finding that “the settlement group’s reaction to this settlement has

been overwhelmingly positive and supports approval” and that “[t]he existence of a

relatively few objections certainly counsels in favor of approval”); In re Rambus Inc.

Derivative Litig., No. C 06-3513, 2009 WL 166689, *3 (N.D. Cal. Jan. 20, 2009) (“The

reaction of the class to the proffered settlement . . . is perhaps the most significant factor to

be weighed in considering its adequacy . . . .”) (internal quotations and brackets omitted).

V.         CONCLUSION

           For the reasons set forth herein, Interim Co-Lead Counsel respectfully request that

the Court grant final approval to the Smithfield Settlement Agreement.




565162.1                                       18
           CASE 0:18-cv-01776-JRT-HB Doc. 1117 Filed 01/13/22 Page 23 of 23




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565162.1                                  19
